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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF LOUISIANA
                            SHREVEPORT DIVISION

UNITED STATES OF AMERICA                       CRIMINAL ACTION NO. 21-00015-03

VERSUS                                         CHIEF JUDGE S. MAURICE HICKS, JR.

MIA DUARTE (03)                                MAGISTRATE JUDGE HORNSBY


                                         ORDER

        The Report and Recommendation of the Magistrate Judge having been considered,

 and the parties having waived their objections thereto;

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant’s

 guilty plea is accepted, and the Court hereby adjudges Defendant guilty of the offense

 charged in Count 1 of the Indictment.

        THUS DONE AND SIGNED in Shreveport, Louisiana, this 1st day of June, 2021.



                                               ___________________________________
                                                      S. MAURICE HICKS, JR.
                                                 UNITED STATES DISTRICT JUDGE
